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FW: Comments Please

From:

Ted Brindamour <tbrindamour@sageci.com>

To:

Paul Parmar <paul@constellationhealthgroup.com>

Date:

Wed, 17 May 2017 16:52:39 -0400

Attachments:

AllRad Direct Diligence Report - 5-18-2017 Draft.pptx (264.09 kB)

Sent from my Windows Phone

From: Ted Brindamour
Sent: (5/17/2017 2:21 PM
To: Arvind Walia

Subject: Comments Please

Arvind, Please let me know if this is going to meet the needs. | will make changes and complete (as described in

presentation) tomorrow AM. | am on Central time, so may be early PM for you.

Best Regards,

Ted Brindamour

Sage Group

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AllRad Direct
Due Diligence Findings

Draft Report
May 18, 2017

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Objective
To develop a comprehensive understanding of the functionality and technology stack for AllRad

Direct's Network Management Solution.

LJ Assess the existing functionality in terms of capability to support the business requirements for a
provider network in an Accountable Care Organization.

C1 Assess the development effort required to eliminate any identified gaps in required functionality
(1 Assess the fit with the existing CHT technology stack

L) Determine the feasibility of integrating with the existing CHT Healthcare Applications

Information Sources

Primary Research ee ae " Secondary Research
L) Functional Review of Software Hey “Market research reports and publications.
(1 Technical Review of Software from key industry associations

() Publicly available information —-company
websites, media coverage, industry
publications, press clippings, etc.

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Product Overview

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AllRad Direct (AllRad) designed and developed a healthcare network
management system which they used for radiology referrals. Their innovative
technology took three 25 developers over 4 years to develop and enhance. The
company believes that the total cost was between $6 and $8 million. company
with one service and an innovative software solution.

The network management solution automates the entire referrals process
including scheduling patient appointments, patient appointment follow-up
including gathering and communicating imaging results. The system
automatically communicates the physiological and clinical data required from
the radiological provider to ensure the highest quality of service from the
referred facility and the quickest and most accurate diagnosis for the patient.
Although the focus of the AllRad Direct development effort was radiology
referrals, the generic nature of the software allows easy adaptation for other
specialties, labs, and physical therapy facilities.

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Strategic Fit and Synergies

Strategic Fit and Synergies

CHT’s strategic direction is leverage its industry position as a leading RCM provider
and IPA operator to move into the far more lucrative business as an ACO. Witha
technology platform that already includes PM, RCM, and BI, applications; CHT is well
positioned to make the transition. In addition to the existing CHT applications an ACO
requires a network management system to coordinate care between providers. The
AllRad Network Management Solution is a big step in the right direction. While this
acquisition will not provide a complete network management solution for a CHT ACO,
it will provide a robust starting point, with many of the features required for an ACO.

CHT will want to leverage the NYNM network to build a future ACO. Currently the
NYNM physicians and practices use many different EHR systems. AllRad’s Network
Management Solution has been designed to easily integrate with most EHR systems,
which means that it will make an ideal interface system between existing CHT
applications and ACO participating providers and also out-of-network providers.

The AllRad Solution uses the same Microsoft development platform and database as
CHT’s proprietary Pegasus applications, PARCS and Pegasus BI, which ensures that
the same team of technology experts CHT uses for development, support, and
enhancement of the existing applications can also be used for the Network
Management Solution.
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Detailed Assessment

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Functionality Assessment

AllRad’s Health Network Management Solution delivers the following capabilities to network participants.

Q)

Referrals

° Specialists

o Imaging and Labs

o Physical Therapy

© Hospitals, Surgery Centers, and Long Term Care Facilities

o Pharmacies Functionality requires additional

Patient Scheduling and Pre-Authorization enhancements/development

Billing and Follow-up
o Insurance both primary and secondary

o HCFA and EOB features Functionality is not as robust as
Payer Management PARCS and Orion RCM Applications.
o Contracts and Fee Schedules
o Claim Submission

o PPO management
Alerts and Notifications

o Patients

o Providers BI provides superior functionality,

Robust Reporting Capabilities move reports to BI platform..

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~ Detailed Assessrnent

Functionality Assessment

) Provider Portal
o Management and Status Reporting
o Schedule Change Management
o Payment Tracking and Reporting
CL) Data Collection and Storage
o Patient Demographics
o Patient Procedure and Clinical Documentation
o Billing and Payment Processing and Reporting
LI Automatically Schedules Patient Procedures
o Contacts patients via fax, e-mail, mail, and phone
o Enables patient call in and real time scheduling with provider
Q) Patient Portal
o Medical History Request and Reporting
o Payments and Payment Reporting
o Appointment Request and Scheduling /Re-scheduling

Oo Demographic Data and Insurance Coverage Maintenance

(2 Automated notifications and reminders of appointments
(} Automated Alerts when schedules are changed
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Detailed Assessment
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Technology Assessment

The AllRad Health Network Management Solution is built on a Microsoft technology
platform which delivers a highly versatile and dynamic architecture to ensure the highest
levels of security, compliance, reliability, and performance. The architecture is designed
to be a cloud based SaaS solution to support any scalability, performance, and availability
requirements. The following are the key components of the architecture:
Components

SQL Server

NET 4.5

HL7 interfaces

EDI and Secure FTP file transfer and communications

Fully HIPAA compliant

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Price Justification Assessrnent

Initial Price Based on Company Fundamentals and
Business Assumptions provided: December 2014 —

Revenue (forecast)

Client forecast: | |
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Liabilities forecast:

EBITDA (forecast)

2. Client forecast included both aynecicdl: new Bionig and expected lc iat clients.

3. Forecast accuracyis+or—5% accurate = ©

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Recommendations

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The Sage Group has the following recommendations to ensure optimal shareholder
value is realized by this acquisition:

NOTE: Recommendations will include development cost
estimates, limited task list with required functionality. Also include
picture with how Network Management can fit into CHT application

architecture.

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